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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSES TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Responses to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, rendered April 1, 2025. We are submitting these documents for
in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
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Emails With or to Counsel Related to Press Communications: Entry Nos. 2824 (PRIV-APL-
EG_00176519), 2901 (PRIV-APL-EG_00178782), 3207 (PRIV-APL-EG_00183513), 3208
(PRIV-APL-EG_00183524)

        PRIV-APL-EG_00183513 is a draft email to be sent to Jennifer Brown (in-house counsel)
and a non-lawyer regarding Apple’s plan for Injunction compliance in January 2024. The email
proposes a timeline for compliance following the Supreme Court’s denial of review, sets forth a
draft of questions and answers for reporters, and seeks clarity regarding which documents may be
referenced in press briefings. Unlike other versions of the draft questions and answers, this draft
was to be sent directly to in-house counsel (Ms. Brown) with a request for feedback. Ms. Brown
is part of the legal team at Apple that oversees commercial litigation, and her advice therefore is
focused on preparing Apple for litigation. Because this confidential information was shared with
Ms. Brown for the primary purpose of soliciting her legal advice, it is privileged. See In re Meta
Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024).

       PRIV-APL-EG_00183524 is a copy of the email as actually sent to Ms. Brown, forwarded
to another non-lawyer. It is privileged for the same reasons.

        Apple will produce PRIV-APL-EG_00176519 without redactions in light of the fact that
other versions of the document have already been produced in substantially identical form. Apple
will produce PRIV-APL-EG_00178782 without redactions.




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Developer Feedback Sent to Counsel: Entry No. 2396 (PRIV-APL-EG_00095500)

        PRIV-APL-EG_00095500 is an email sent to Sean Cameron (in-house counsel) and a non-
lawyer regarding feedback received from a developer about changes Apple was making to its App
Store in order to respond to new regulatory requirements. Although the top of the email is
addressed to the non-lawyer, the sender solicits feedback from Mr. Cameron on the notes. Because
this confidential information was sent to a lawyer in order to secure legal advice, it is privileged.
See In re Meta Healthcare Litig., 2024 WL 3381029, at *2.




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Slide Deck Concerning Regulatory Compliance: Entry No. 2417 (PRIV-APL-EG_00095701)

        PRIV-APL-EG_00095701 is a slide deck describing Apple’s plan for complying with new
regulatory requirements in the Netherlands related to the App Store. The deck includes proposed
in-app messaging and a timeline for development and submission to the Netherlands competition
regulator. The content of the deck—including the plan of compliance, the permissible options,
and the timeline for responding to the Netherlands regulator—was heavily informed by legal
advice from in-house counsel. The fact that the specific legal advice is not discernible from the
face of the document does not render the materials non-privileged. See In re Premera Blue Cross
Customer Data Sec. Breach Litig., 329 F.R.D. 656, 663 (D. Or. 2019).




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Email Concerning Compliance Timeline: Entry No. 2533 (PRIV-APL-EG_00096599)

        PRIV-APL-EG_00096599 is an email sent from a non-lawyer to Jennifer Brown, Sean
Cameron, and Ling Lew (all in-house counsel), among others, providing context for an attachment.
The attachment, PRIV-APL-EG_00096600, is a proposed timeline for certain aspects of Apple’s
plan for compliance with the Injunction in this case. The attachment was withheld by Apple on
privilege grounds, upheld by the Special Masters, and not challenged by Epic. Both the email and
the attachment are privileged as confidential communications with counsel seeking legal advice
regarding the timeline and sequencing for Injunction compliance. See United States v. Sanmina
Corp., 968 F.3d 1107, 1116 (9th Cir. 2020).




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Email Request for Legal Feedback: Entry No. 2544 (PRIV-APL-EG_00096651)

       PRIV-APL-EG_00096651 is an email exchange initiated by a non-lawyer and sent to
“Team, Jennifer & Ling.” Jennifer Brown and Ling Lew, recipients of the email, are in-house
counsel at Apple. The email exchange consists of a discussion of various elements of Apple’s plan
for compliance with the Injunction in this case. Both Ms. Brown and Ms. Lew participate
throughout the chain, including by offering “Litigation’s recommendation” regarding certain
process questions. The email exchange is for the primary purpose of soliciting and providing legal
advice and is therefore privileged. See Sanmina, 968 F.3d at 1116.




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DATED: April 9, 2025                    WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




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